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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



IN RE PHARMACEUTICAL INDUSTRY                           MDL No. 1456
AVERAGE WHOLESALE PRICE LITIGATION


THIS DOCUMENT RELATES TO:                               CIVIL ACTION: 01-CV-12257-PBS

ALL MASSACHUSETTS CLASS ACTIONS                         Judge Patti B. Saris
CONCERNING CLASSES 2 & 3



                       [PROPOSED] ORDER GRANTING PLAINTIFFS’
                        MOTION FOR LEAVE TO FILE UNDER SEAL


         THIS MATTER is before the Court on Plaintiffs’ motion for leave to file under seal. The

Court, having considered all pleadings in support and in opposition thereto, and being fully

advised in the premises, hereby

         GRANTS Plaintiffs’ motion for leave to file under seal the following item:

         1.       Exhibit A attached to the Proposed Revised Final Orders and Judgments
                  Granting Final Approval of the Proposed Massachusetts and Non-Massachusetts
                  Class 2/Class 3 Settlements with AstraZeneca.

         IT IS SO ORDERED.




         DATED: _____________________                _________________________________
                                                           Hon. Patti B. Saris
                                                           United States District Court Judge




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I, Steve W. Berman attorney, caused a true and correct copy of the

foregoing [Proposed] Order Granting Plaintiffs’ Motion For Leave To File Under Seal be

delivered to all counsel of record by electronic service pursuant to Paragraph 11 of the Case

Management Order No. 2, by sending on February 11, 2011 a copy to LexisNexis File and Serve

for Posting and notification to all parties.



                                                    By: /s/ Steve W. Berman
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